Case: 4:18-cr-00953-RLW-NCC Doc. #: 16 Filed: 11/15/18 Page: 1 of 5 PageID #: 36



                                                                                       FILED
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI                          NOV 1 5 2018
                                    EASTERN DIVISION                               U.S. DISTRICT COIJRT
                                                                                 EASTERN DISTRICT OF MO
                                                                                         ST. LOUIS
 UNITED STATES OF AMERICA,                           )
                                                     )
                Plaintiff,                           )
                                                     )
 v.                                                  )
                                                     )
 DANIEL HALFORD,                                     )         4:18CR00953 RLW/NCC
                                                     )
                Defendant.                          -)

                                          INDICTMENT

                                               COUNTl

        The Grand Jury charges that:

                                         INTRODUCTION

        At all times relevant to this Indictment:

        1.      Peoples Bank & Trust, Midland States Bank, and Wells Fargo are organizations

 established for the ·purpose of providing banking services. They conduct business in, and

 affecting, interstate commerce.

        2.      The term "counterfeit" means a document that purports to be genuine but is not,

 because it has been falsely made or manufactured in its entirety.

        3.      The term "security" means a check, traveler's check, money order, or debit

 instrument.

        4.      The term "utter" means to put as currency into circulation, or to circulate a

 counterfeit security as iflegal or genuine.
Case: 4:18-cr-00953-RLW-NCC Doc. #: 16 Filed: 11/15/18 Page: 2 of 5 PageID #: 37




                                              THE CHARGE

             Beginning at least by August 17, 2018 and continuing until October 23, 2018, in the

  Eastern District of Missouri,

                                           DANIEL HALFORD,

  the defendant herein, along with others 1mown and un1mo\vn to this Grand Jury, did 1mowingly

  and willfully agree and conspire together to make, utter and possess counterfeit securities of

  Peoples Bank & Trust, Midland States Bank, and Wells Fargo, with intent to deceive another

  person or organization.

                                         MANNER AND MEANS

          The means and methods by which th~ conspiring was sought to be accomplished

  included, among others, the following:

                    a.      Defendant obtained computer hardware and software in order to create

  counterfeit securities,
                                                                                          /
                    b.      Defendant created counterfeit securities, ,

                    c.      Defendant recruited individuals to utter those counterfeit securities,

                    d.      Defendant provided counterfeit securities to those individuals who

 attempted to utter and pass them at commercial stores, ""'

                    e.      Defendant himself attempted to utter counterfeit securities which he

, created.

                                              OVERT ACTS

         In furtherance of the conspiracy and to effect the objects of the conspiracy, the defendant

 committed and caused the following over acts:




                                                      2
Case: 4:18-cr-00953-RLW-NCC
                  .::·      Doc. #: 16 Filed: 11/15/18 Page: 3 of 5 PageID #: 38




        The Grand Jury hereby realleges and incorporates, by reference, all of the allegations set

 forth in Counts 2, 3 and 4 of this Indictment, as if fully set forth herein.

        All in violation of, and punishable under, Title 18, United States Code, Section 371.

                                               COUNT2

        The Grand Jury further charges that:

        On or about August 17, 2018, in the Eastern District of Missouri,

                                        DANIEL HALFORD,

 the defendant herein, did possess a counterfeited security of Midland States Banlc, that being a

 check with number 57011, payable to D.P., in the amount of $926.76, purporting to be issued by

 O'Brien's Restoration, but actually drawing from an account that does not exist, with the intent

 to deceive another person or organization.

        In violation of, and punishable under, Title 18, United States Code, Section 513(a).

                                               COUNT3

        The Grand Jury further charges that:

        On or about September 6, 2018, in the Eastern District of Missouri,

                                        DANIEL HALFORD,

 the defendant herehl, did possess a counterfeited security of Peoples Banlc 1& Trust, that being a

 check with number 4219 payable to T.S., in the amount of $852.88, purporting to be issued by

 Smart Construction but actually drawing from an account assigned to Lincoln County Sheriffs

 Department, with the intent to deceive another person or organization, namely Crown Food Mart.

        In violation of, and punishable under, Title 18, United States Code, Section 513(a).

                                              COUNT4

        The Grand Jury further charges that:



                                                    3
Case: 4:18-cr-00953-RLW-NCC Doc. #: 16 Filed: 11/15/18 Page: 4 of 5 PageID #: 39



         "-
        On or about October 23, 2018, in the Eastern District of Missouri,

                                         DANIEL HALFORD,
                                     .
 the defenq~nt herein, did possess a counterfeit security of Wells Fargo, that being a check with

 number 180024, payable to Daniel Halford in the amount of $795 .09, purporting to be issued by

 Fedex Corp. Shipping Center, but actually drawing from an account that does not exist, with the

 intent to deceive another person or organization.
                                              I




        In violation of, and punishable under, Title 18, United States Code, Section 513(a).

                                                  COUNTS

        The Grand Jury further charges that:

        On or about October 23, 2018, in the Eastern District of Missouri,

                                      DANIEL HALFORD,

 the defendant herein, having been previously convicted in the Circuit Court of St. Charles

 County, Missouri, on December 18, 2012, in cause number 1211CR3597 of the felony offenses
         .                                                              ,

 of Theft Over $500 and Burglary Second Degree, and on June 5, 2013 in cause number

 1311CRl66001 of the felony offense of Distribution of a Controlled Substance, crimes

 punishable by a term of imprisonment exceeding one year under the laws of the State of

 Missouri, did knowingly and intentionally possess a firearm which previously traveled in

 interstate commerce during or prior to being in defendant's possession, to wit: an IO-Inc. make,

 10-15 model, multicaliber pistol, bearing serial number 1015-03723.

        In violation of Title 18, United States Code, Section 922(g)(l) and punishable under Title

 18, United States Code, Section 924(a)(2).

                                              COUNT6

        The Grand Jury further charges that:



                                                    4
Case: 4:18-cr-00953-RLW-NCC Doc. #: 16 Filed: 11/15/18 Page: 5 of 5 PageID #: 40




        On or about October 23, 2018, in the Eastern District of Missouri,

                                      DANIEL HALFORD,

 the defendant herein, did unlawfully possess a letter addressed to B.A. at xxx Holly Terrace
                              /
                                                                          -              .

 Court, Ballwin, Missouri which had been stolen, taken, and abstracted from a letterbox, post

 office, mail receptacle or mail route, which was an authorized depository for mail matter,

 knowing the said letter to have been stolen, taken, and abstracted from an authorized depository

 for mail matter.

        In violation of, and punishable under, Title 18, United States Code, Section 1708.

                                                     A TRUE BILL.


                                                     FOREPERSON

 JEFFREY B. JENSEN
 United States Attorney


 JOHN J. WARE, #40880MO .
 Assistant United States Attorney




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